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PLuME             UNDISPUTED FACTS              OCWD’s SUBMIssIoNs             DEFENDANTS’ UNDISPUTED
NUMBER AND        SUPPORTING                                                   FACTS IN RESPONSE TO
STATION           DEFENDANTS’ FURTHER                                          OCWD’s SUBMISSIONS
ADDRESS           SUPPLEMENTAL
                  MEMORANDUM

                  ppb. (OCWD-MTBE-              ¶21.)                          to offer his “opinion as a
                  00 1-260082.) MTBE was                                       hydrogeologist with
                  detected at MW-I 5 on                                        extensive experience in
                  December 27, 1996 at a                                       remediation,” he testified
                  level of 140 ppb and in                                      during his deposition that he
                  another testing event prior                                  is “not an expert in
                  to May 6, 2000. (OCWD-                                       remediation,” “remedial
                  MTBE-00I-260084.)                                            technologies,” or “fate and
                                                                               transport analysis.” (See
                                                                               discussion in ¶ 2 above.)

Shell             8. The MTBE detection in     8. Mr. Costley’s accrual        8. Although Mr. Bolin
#204359403        well NB-TAMD on which        date is based solely on         purports to offer his “opinion
8471 Warner       OCWD’s date is based         detections of MTBE in           as a hydrogeologist with
Ave.              was at 0.12 ppb. (Costley    monitoring wells that are       extensive experience in
Huntington        2009 Dccl. Ex. I D.)         “on site” under even Mr.        remediation,” he testified
Beach                                          Costley’s definition of that    during his deposition that he
                  Prior to May 6, 2000,        tenm See Costley Dccl.,         is “not an expert in
                  MTBE was detected at         Ex. I D. Levels of              rernediation,” “remedial
                  this station in on-site    I contamination reflected in      technologies,” or “fate and
                  monitoring wells from at     the monitoring well data        transport analysis.” (See
                  least August 12, 1998, at a cited by Mr. Costley are         discussion in ¶ 2 above.)
                  level of312 ppb. (See        consistent with core
                  Finsten 2008 Supp. Dccl., remedial activities at
                  Ex. 15.)                     almost any site and do not
                                               by themselves indicate that
                                               MTBE has escaped
                                               remedial efforts. The most
                                               recent remediation reports
                                               for the Shell #204359403
                                               site do not indicate that
                                               further efforts to define the
                                               plume or expand the area
                                               of remediation are
                                               underway or anticipated.
                                               In my opinion, the first real
                                               hydrogeologic evidence
                                               that MTI3E had escaped
                                               remediation at this site was
                                               when MTBE was detected
                                               in the production well
                                               associated with Plume 1.
                                               (Bolin Dccl., 1] 18.)


Texaco        -   9. The MTBE detection in      9. Mr. Costley’s accrual       9. Although Mr. Bolin
                                                        -   12-
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PLUME           UNDISPUTED FACTS             OCWD’s SuBMissioNs              DEFENDANTS’ UNDISPUTED
NUMBER AND      SUPPORTING                                                   FACTS IN RESPONSE TO
STATION         DEFENDANTS’ FURTHER                                          OCWD’S SUBMISSIONS
ADDREsS         SUPPLEMENTAL
                MEMORANDUM

#121681         well NB-TAMD on which        date is based solely on         purports to offer his “opinion
9475 Warner     OCWD’s date is based         detections of MTBE in           as a hydrogeologist with
Ave.            was at 0.12 ppb. (Costley    monitoring wells that are       extensive experience in
Fountain        2009 Dccl. Ex. ID.)          “on site” under even Mr.        remediation,” he testified
Valley          Prior to May 6, 2000,        Costley’s definition of that    during his deposition that he
                MTBE was detected at         term. See Costley Dccl.,        is “not an expert in
                this station in on-site      Ex. ID. Levels of               remediation,” “remedial
                monitoring wells from at     contamination reflected in      technologies,” or “fate and
                least March 27. 2000, at a   the monitoring well data        transport analysis.” (See
                level of 41,000 ppb. (Id.)   cited by Mr. Costley arc        discussion in ¶ 2 above.)
                                             consistent with core
                                             remedial activities at
                                             almost any site and do not
                                             by themselves indicate that
                                             MTBE has escaped
                                             remedial efforts. The most
                                             recent remediation reports
                                             for the Texaco #121681
                                             site do not indicate that
                                             further efforts to define the
                                             plume or expand the area
                                             of remediation are
                                             underway or anticipated.
                                             In my opinion, the first real
                                             hydrogeologic evidence
                                             that MTBE had escaped
                                             was when MTBE had been
                                             detected in the production
                                             well associated with Plume
                                             1. (Bolin DecI., ¶ 19.)


Unocal #53 99    10. The MTBE detection      10. Mr. Costley’s accrual       10. When deposed as the
9525 Warner     in well NB-TAMD on           date is based solely on         District’s Rule 30(b)(6)
Ave.            which OCWD’s date is         detections of MTBE in           representative last year, Mr.
Fountain        based was at 0.12 ppb.       monitoring wells that are       Bolin unequivocally defined
Valley          (Costley 2009 Dccl. Ex.      “on site” under even Mr.        “off-site contamination” as
                lD.)                         Costley’s definition of that    “[djetections of MTBE in a
                                             term. See Costley Dccl.,        well outside the boundaries
                Prior to May 6, 2000,        Ex. ID. Levels of               of the property.” (Bolin Dep.
                MTBE was detected at         contamination reflected in      3 56:2-22; see also Id.
                this station in on-site      the monitoring well data        1888:25-1890:3; 1933:12-
                monitoring wells from at     cited by Mr. Costley are        1934:3.) Mr. Bolin also
                least November 20, 1996,     consistent with core            testified that an MTBE
                at a level of 2,000 ppb.     remedial activities at          detection in a monitoring

                                                    -   13   -
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PLUME        UNDISPUTED FACTS            OCWD’s SUBMISSIONS             DEFENDANTs’ UNDISPUTED
NUMBER AND   SUPPORTING                                                 FACTS IN RESPONSE TO
STATION      DEFENDANTS’ FURTuIR                                        OCWD’s SUBMISSIONS
ADDREss      SUPPLEMENTAL
             MEMORANDUM

             (Id.; Deci. of Melanie      almost any site and do not     well “near the site boundary
             Hanson Sartoris, March 9.   by themselves indicate that       indicate[s] there is off-site
             2006 (“Sartoris 2006        MTBE has escaped               contamination.” (Id. 357:4-
             Dccl.”) Ex. 15.)            remedial efforts. The most     16.)
                                         recent rernediation reports
                                         for the Unocal #5399 site      To justify the District’s
                                         do not indicate that further   reliance on purported MTBE
                                         efforts to define the plume    detections in a production
                                         or expand the area of          well to establish its accrual
                                         remediation are underway       date, Mr. Bolin’s declaration
                                         or anticipated. In my          asserts that there is no other
                                         opinion, the first real        “indicat[ion] that MTBE has
                                         hydrogeologic evidence         escaped remedial efforts” at
                                         that MTBE had escaped          Unocal #5399. (Bolin 2009
                                         was when MTBE had been         Deci. ¶ 22.) However, in
                                         detected in the production     deposition testimony, Mr.
                                         well associated with Plume     Bolin claimed that there is a
                                          1. (Bolin Decl., ¶ 22.)       “great likelihood” that MTBE
                                                                        has “migrated offsite”
                                                                        because of “some pretty high
                                                                        concentrations that were
                                                                        detected in  ... site margin
                                                                        wells, including MW-4,
                                                                        which is pretty close to the
                                                                        site margin..  ..“  (Bolin Dep.
                                                                        2892:3-23.) Bolin also
                                                                        testified that the MTBE
                                                                        contamination had “escaped
                                                                        remediation” because “there
                                                                         was a release of MTBE that
                                                                        got into groundwater [and]
                                                                        there’s been no groundwater
                                                                        remediation.” (Id. 2894:8-
                                                                         2895:5.) Notably, Mr. I3olin
                                                                         did not cite detection in a
                                                                        production well as the basis
                                                                         for his conclusion that MTBE
                                                                         had migrated offsite. (Id.)

                                                                        Mr. Bolin is mistaken in
                                                                        claiming that there are no
                                                                        “further efforts to define the
                                                                        plume or expand the area of
                                                                        rernediation     underway or
                                                                                       ...


                                                                        anticipated.” (Bolin Dccl. ¶

                                                 -   14   -
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PIitE         UNDJ5PUmD FACTS        OCWD’s SuBllssIoNs     DEFENDANTS’ UNDISPUTED
NUMiiER ND    SUPPORTING                                    FA m Ix R %PONSE TO
                                                            ‘Th’ Wfl’L Ci
ST-vIIoN      DFFEND&NTS FL Wi HER
ADDRESS       SIPPLEMENTA[.
              MEMOR 4NDUM

                                                            22.) ( onsultants and/or
                                                            regulators may determine that
                                                            additional monitoring wells
                                                            or different remediation is
                                                            necessary, often many years
                                                            after the last monitoring well
                                                            was drilled. Where new
                                                            information developed from
                                                            one or more wells at the site
                                                            indicates that an adjustment
                                                            to the remediation measures
                                                            should be made, appropriate
                                                            action can be taken. (Molla
                                                            Decl. ¶J3-5, Ex.l.)

                                                            Although Mr. Bolin purports
                                                            to offer his “opinion as a
                                                            hydrogeologist with
                                                            extensive experience in
                                                            remediation,” he testified
                                                            during his deposition that he
                                                            is “not an expert in
                                                            remediation,” “remedial
                                                            technologies,” or “fate and
                                                            transport analysis.” (See
                                                            discussion in ¶ 2 above.)




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PLUME NO.        11. Plume 2 was             11. Defendants’ prior
2                previously addressed in response asserts that
MCWD-3B          the 2008 round of          detections of MTBE
MCWD-5           supplemental briefing,     below 1 ppb in MCWD
MCWD-7           and Defendants’            3B, MCWD-5, and
IRWD-7           undisputed facts           MCWD-7 are
                 supporting their position insufficient to constitute
                 regarding this plume can a cognizable injury or to
                 be found in their 56.1     require the District to
                 statement submitted in     take action. For
                 that briefing at ¶J 13-19. purposes of statute of
                                            limitations, therefore,
                                            defendants concede that
                                            the Districts claims with
                                            respect to these wells
                                            and Plume 2 are not
                                            time-barred.

                                              2. Defendants’ prior response
                                              also asserts that the District
                                              must prove that MTBE
                                              released at a Plume 2 station
                                              actually contaminated the
                                              designated wells in order to
                                              bring a claim. This argument
                                              is irrelevant for purposes of
                                              statute of limitations.



Mobil #18-       12. The MTBE                  12. Mr. Costley cites MW-5A,      12. When deposed as the
HDR              detection in well MW         MW-5B, MW-6A, MW-7,               District’s Rule 30(b)(6)
3195 Harbor      16B on which OCWD’s          MW-9A, MW-9B, MW-bA,              representative last year, Mr.
Blvd.            date is based was at 18.5    and MW-lOB at the Mobil           Bolin unequivocally defined
Costa Mesa       ppb. (Costley 2009           #1 8-HDR station associated       “off-site contamination” as
                 Deci. Ex. 1A.)               with Plume I as examples of       “[d]etcctions of MTBE in a
                                              where “off-site” wells showed     well outside the boundaries
                 Prior to May 6, 2000,        detections of MTBE prior to       of the property.” (Bolin
                 MTBE was detected at         May 6, 2000. See Costley          Dep. 356:2-22; see also id.
                 this station in eight off-   Dccl., Ex. 1A. These wells,       1888:25-1890:3; 1933:12-
                 site monitoring wells at     however, do not indicate that     1934:3.) Mr. Bolin also
                 levels greater than the      MTBE has escaped                  testified that an MTBE
                 California Secondary         remediation at this site.         detection in a monitoring
                 MCL: MW-5A, MW               Groundwater contour maps          well “near the site
                 5B, MW-6A, MW-7,             demonstrate that the shallow      boundary... indicate[s]
                 MW-9A, MW-9B, MW             groundwater flow is               there is off-site
                 1OA, and MW-lOB, as          principally to the Southwest at   contamination.” (Id. 357:4-
                 follows:                     this station. (Bolin Dccl., Ex.   16.)
                                              7.) MW-5A, MW-5B, and
                 MTBE was detected in         MW-6A are not downgradient        Although now asserting that
                                                       -   16-
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   MW-5A on February          from the release site, and          detections in wells MW-5A,
   29, 1996 at 51,000 ppb,    MW-9A. MW-9B, MW-IOA.               MW-5B, MW-6A, MW-7,
   and in 13 of the 14        and MW-lOB are located              MW-9A, MW-9B, MW
   subsequent sampling        fairly close to the station at a    lOA, and MW-lOB “do not
   events prior to May 6,     maximum of 65 feet to the           indicate that MTBE has
   2000 at levels above 5     South-West of the station.          escaped remediation at this
   ppb, peaking at 71,000     MW-7 is located                     site,” (Bolin 2009 Dccl. ¶
   ppb.                       approximately 150 feet              24) Mr. Bolin previously
   (EXMOI 8HDR 022 18         downgradient from the               identified all of these wells,
   9; OCWD-MTBE-001-          release, indicating ongoing         in addition to wells MW
   182752.) MTBE was          efforts to characterize the         15A, MW-15B, and MW-
   detected in MW-5B on       plume as part of remediation.       16, to support his belief that
   February 29, 1996 at       MW-l6B is located 350 feet          “contamination emanating
   40,000 ppb. and in five    downgradient from the release       from Mobil I 8-HDR
   subsequent sampling        site, is the furthest               escaped remediation.”
   events prior to May 6,     downgradient well from the          (BolinDep. 1271:8-11,
   2000 at levels above 5     release site and showed an           1272:19-1273:22.)
   ppb, peaking at 67,000     MTBE detection of 18.5 ppb
   ppb.                       in 2004. The most recent            Mr. Bolin is mistaken in
   (EXMOI 8HDR 022 19         remediation reports for the         claiming that there are no
   0-91; OCWD-MTBE            Mobil #l8-HDR do not                “further efforts to define the
   001-182753-54.)            indicate that further efforts to    plume or expand the area of
   MTBE was detected in       define the plume or expand          remediation   ...underway or
   MW-6A on February          the area of remediation are         anticipated.” (Bolin Dccl. ¶
   29, 1996 at 12 ppb, and    underway or anticipated. In         24.) The Orange County
   in four subsequent         my opinion as a                     Health Care Agency
   sampling events prior to   hydrogeologist with extensive       recently approved further
   May 6, 2000 at levels      experience in remediation,          work at this station “for the
   above 5 ppb, peaking at    this detection in MW-16B is         purpose of determining the
   31 ppb.                    the first real indication at this   effectiveness of the
   (EXMO I 8HDR 022 19        site that MTBE has escaped          [remediation] system.”
   2; OCWD-MTBE-00l-          active remediation efforts and      (Ortega Dccl. ¶J 2-3, Lx. A-
    182755.) MTBE was         is threatening drinking water       B.)
   detected in MW-7 on         sources. (Bolin Dccl., ¶ 24.)
   February 29, 1996 at                                           Although Mr. Bolin
   4,200 ppb, and in six      Defendants cite to several of       purports to offer his
   subsequent sampling        my responses to questions           “opinion as a
   events prior to May 6,     during depositions to critique      hydrogeologist with
   2000 at levels above 5     the monitoring wells that I         extensive experience in
   ppb, peaking at 4,700      selected for purposes of            remediation,” he testified
   ppb.                       determining an accrual date.        during his deposition that he
   (EXMOI 8HDR 022 19         Remedial systems are                is “not an expert in
   4; OCWD-MTBE-001-          developed over time, and            remediation, ““remedial
    182757.) MTBE was         monitoring wells can convey         technologies,” or “fate and
   detected in MW-9A on       different information at            transport analysis.” (See
   May 29, 1996 at 3,200      different times. In responding      discussion in ¶ 2 above.)
   ppb, and in eleven         to defendants’ deposition
    subsequent sampling       questions I was merely
   events prior to May 6,     observing that particular
    2000 at levels above 5    monitoring wells referenced
   ppb, peaking at 5,400      by defendants indicated that
                                        -17-
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   ppb.                         MTBE had gone beyond the
   (EXMOI 81-IDR 022 19         then existing remedial systems
   7-98; OCWD-MTBE              between the monitoring well
   001-182761.) MTBE            and the release point. I was
   was detected in MW-9B        not addressing in my
   on May29, 1996 at            deposition statements the
   4,400 ppb. and in nine       issue of whether there was
   subsequent sampling          hydrogeologic evidence of the
   events prior to May 6,       type addressed in the accrual
   2000 at levels above 5       chart, which was used to
   ppb, peaking at 6,000        determine both when MTBE
   ppb.                         could be said to be beyond the
   (EXMO1 8HDR 022 19           scope of any remediation
   9; OCWD-MTBE-00l-            system associated with the site
   182762.) MTBE was            and a current threat to
   detected in MW-1OA on        drinking water. (Bolin Dccl.,
   February 29, 1996 at         1 56.)
   38,000 ppb (peak level),
   and in twelve of the next
   fourteen sampling
   events prior to May 6,
   2000 at levels above 5
   ppb.
   (EXMOI 8HDR 02220
   0; OCWD-MTBE-00 I      -




    182763.) MTBE was
   detected in MW-lOB on
   February29, 1996 at
   6,300 ppb, and in
   thirteen of the next
   fourteen sampling
   events prior to May 6,
   2000 at levels above 5
   ppb, peaking at 55,000
   ppb.
   (EXMO I 8HDR 02220
    1; OCWD-MTBE-001-
    182764-65.)

   In deposition testimony,
   David Bolin (OCWD)
   testified that MTBE had
   “escaped’ remediation
   at this station based on
   off-site detections in
   seven of these off-site
   wells. (Bolin Dep.
   1271:8—1273:22).
   Each of these seven off
   site wells Bolin lists had
   MTBE detections before
                                         -   18-
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              May 6, 2000, and dating
              back to 1996: MW-5A,
              MW-5B, MW-7, MW
              9A, MW-9B, MW-1OA,
              and MW-lOB. (See
              OCWD-MTBE-001-
              182752-65).

Arco #6131     13. The MTBE                13. Mr. Costley cites 8-8, B-      13. When deposed as the
3201 Harbor   detection in well            9, and B-l0 as examples of         District’s Rule 30(b)(6)
Blvd.         MCWD-5 on which              where “off-site” wells showed      representative last year, Mr.
Costa iMesa   OCWD’s accrual date is       detections of MTBE prior to        Bolin unequivocally defined
              based was at 0.08 ppb.       May 6, 2000, at this site          “off-site contamination” as
              (Costley 2009 Dccl. Ex.      where the District concluded       “[d]etections of MTBE in a
              lB.) However, under          there were no off-site wells,      well outside the boundaries
              the District’s accrual       and therefore detections of        of the property.” (Bolin
              criteria, accrual may rest   MTBE in the nearest                Dep. 3 56:2-22; see also id.
              on an MTBE detection         production well provided the       1888:25-1890:3; 1933:12-
              in a water production        date on which the District’s       1934:3.) Mr. Bolin also
              well only “[for stations     cause of action accrued for        testified that an MTBE
              where no off-site            releases from the station. See     detection in a monitoring
              monitoring wells were        Costley Dccl., Ex. lB. B-8,        well “near the site
              installed.” (Feb. 6,         8-9, and B-10, however, do         boundary... indicate[sJ
              2009, Letter from M.         not indicate that MTBE has         there is off-site
              Axline to The Hon.           escaped remediation at this        contamination.” (Id. 3 57:4-
              Shira Scheindlin.)           site. Groundwater contour          16.)
                                           maps demonstrate that the
              Prior to May 6, 2000,        shallow groundwater flow is        To justify the District’s
              MTBE was detected at         principally to the Southwest at    reliance on purported
              this station in at least     this station. (Bolin Dccl., Ex.    MTBE detections in a
              three off-site monitoring    6.) 8-8, B-9 and B-l0 are          production well to establish
              wells at levels greater      located in close proximity to      its accrual date, Mr. Bolin’s
              than the California          the release at the station. In     declaration asserts that “the
              Secondary MCL: 8-8,          my opinion as a                    District concluded there
              B-9, and 8-10, as            hydrogeologist with extensive      were no off-site wells” at
              follows:                     experience in remediation,         ARCO #613 1. (Bolin Dccl.
                                           these wells are associated with    ¶ 23.) However, in notes
              MTBE was detected in         the core remedial activities at    prepared for last year’s
              B-8 beginning on             this station. The most recent      deposition, Mr. Bolin
              August 22, 1996, at 170      remediation reports for the        concluded that “Significant
              ppb, and was detected in     Arco#6131 site do not              [groundwater
              that monitoring well         indicate that further efforts to   contaminationi already
              during every quarterly       define the plume or expand         migrated SW,
              monitoring event             the area of remediation are        downgradient1, off site by
              through May 6, 2000.         underway or anticipated.                1998.” (Bolin Dep.
              (OCWD-MTBE-001        -      Therefore, the first real          616:1-20, Ex. 24 (emphasis
               187836-37.) MTBE            hydrogeologic evidence that        in original).) His notes
              was detected in B-9          MTBE had escaped was when          identified as among the
              beginning on August 22,      MTBE was detected in a             basis for this conclusion
              1996 at 65,000 ppb, and      production well. (Bolin Dccl.,     MTBE detections in “off
              was detected in that         ¶23.)                              site well B-9 new SW site

                                                    -   19-
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   monitoring well in ten                         margin since 1 St tested in
   subsequent quarterly                           1996.” (Bolin Dep. Ex. 24.)
   monitoring events prior                        Monitoring well B-9 is
   to May 6, 2000.                                among the off-site
   (OCWD-MTBE-00 1-                               monitoring wells cited by
    187837.) MTI3E was                            defendants as establishing a
   detected in B-b on                             pre-May 6, 2000 accrual
   February4, 1999 at 17                          date for this station.
   ppb, and was detected in
   that monitoring well in                        Mr. Bolin is mistaken in
   two monitoring events                          claiming that there are no
   prior to May 6, 2000.                          “further efforts to define the
   (OCWD-MTBE-001      -                          plume or expand the area of
   187838.)                                       remediation  ...  underway or
                                                  anticipated.” (Bolin Decl. ¶
                                                  23.) At each stage in the
                                                  remediation process, and
                                                  whenever new information
                                                  becomes available, BP, its
                                                  consultants, and the
                                                  regulators, evaluate what
                                                  additional or different
                                                  actions, if any may be
                                                  required. (Fah Decl. ¶J 3-
                                                  4.) When new information
                                                  becomes available
                                                  mdi eating that a
                                                  modification to the
                                                  remediation measures being
                                                  taken at a site is called for,
                                                  appropriate action will be
                                                  taken at any stage in the
                                                  process, even years after an
                                                  initial remediation program
                                                  is commenced. (Id. ¶J 4-5.)
                                                  (See discussion of new
                                                  remedial technology
                                                  proposed in January 2009 at
                                                  station ARCO # 1887, ¶ 3
                                                  above.)

                                                  Although Mr. Bolin
                                                  purports to offer his
                                                  “opinion as a
                                                  hydrogeologist with
                                                  extensive experience in
                                                  remediation,” he testified
                                                  during his deposition that he
                                                  is “not an expert in
                                                  remediation,” “remedial
                                                  technologies,” or “fate and
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                                                                                transport analysis.” (See
                                                                                discussion in ¶ 2 above.)

Arco#3083       14. Defendants do not       14. No response necessary.
3470            dispute the facts cited
Fairview        by the District, and
Road            believe that this station
Costa Mesa      should be dismissed
                from the District’s
                lawsuit with prejudice.

Mobil #18-      15. The MTBE                15. Mr. Costley sites four          15. When deposed as the
JMY             detection in well MW-       monitoring wells at the Mobil       District’s Rule 30(b)(6)
3470            15 on which OCWD’s          #l8-JMY station associated          representative last year, Mr.
Fairview        accrual date is based       with Plume 2 (BH-5, MW-14,          Bolin unequivocally defined
Road            was at 4.9 ppb. (Costley    MW-l7, and MW-19) as                “off-site contamination” as
Costa Mesa      2009 Deci. Ex. 1A.)         examples of where “off-site”        “[d]etections of MTBE in a
                This number is below        wells showed detections of          well outside the boundaries
                the California              MTBE prior to May 6, 2000.          of the property.” (Bolin
                Secondary MCL and           See Costley Dccl., Ex. 1A.          Dep. 3 56:2-22; see also id.
                therefore below the         These wells, however, do not        1888:25-1890:3; 1933:12-
                level at which OCWD’s       indicate that MTBE has              1934:3.) Mr. Bolin also
                claims accrued, based       escaped remediation at this         testified that an MTBE
                on its own criteria. (See   site. Groundwater contour           detection in a monitoring
                Feb. 6. 2009, Letter        maps demonstrate that the           well “near the site
                from M. Axline to The       shallow groundwater flow is         boundary... indicate[s]
                Hon. Shira Scheindlin.)     principally to the Southeast to     there is off-site
                Moreover, every             Southwest at this station. (Ex.     contamination.” (Id. 3 57:4-
                sampling event in well      8.) BH-5, MW-14, MW-17,             16.)
                fW-15 before the            and MW-l9 appear to be
                alleged November 7,         intended to characterize the        Although now asserting that
                2001 accrual date, and      plume for remedial purposes.        detections in wells BH-5,
                every sampling event        BH-5, for example, is only 30       MW-14, MW-17, MW
                afler the alleged accrual   feet from the property              19A, and MW-l9B “do not
                date, has been non-         boundary, and MW-I 4 is only        indicate that MTBE has
                detect for MTBE.            10 feet from the property           escaped remediation at this
                (OCWD-MTBE-00 1-            boundary. Although MW- 17           site,” (Bolin 2009 Dccl. ¶
                 182420.)                   and MW-19 are further away          25), in notes prepared for
                                            from the property boundary,         last year’s deposition, Mr.
                Prior to May 6, 2000,       neither is downgradient from        Bolin concluded that
                MTBE was detected at        the release site and both           “Signiticant MTBE and
                this station in five off-   appear to be part of                TBA groundwater
                site wells at levels        characterizing the plume for        contamination already
                greater than the            the purpose of remedial             migrated S[outh],
                California Secondary        efforts. MW- 15, in contrast,       downgradient, off site
                MCL (with four wells        is 155 feet downgradient from       towards water production
                having consistent pre       the release site, is the furthest   wells by the time
                May 6. 2000                 downgradient well from the          groundwater capture started
                concentration levels):      release site and showed a           in 2000.... GWE
                BH-5, MW-14, MW-l7,         detection of 4.9 ppb of MTBE        contamination, including
                MW-19A, and MW-             in 2003. The most recent            MTBE & TBA, flowed S

                                                      -21   -
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    19B, as follows:          remediation reports for this        off site >4 yrs. Before
                              site do not indicate that further   [groundwater] capture at
   MTBE was detected at       efforts to define the plume or      this site.” (Bolin Dep.
   5.7 ppb in Well-i 9A on    expand the area of                  1170:12-1171:12, Ex. 70.)
   January 17, 2000, above    remediation are underway or
   the Secondary MCL.         anticipated. In my opinion as       Mr. Bolin is mistaken in
   (OCWD-MTBE-00 1-           a hydrogeologist with               claiming that there are no
    182423.) MTBE was         extensive experience in             “further efforts to define the
   detected in BH-5 on        remediation, this detection in      plume or expand the area of
   May 3, 1994 at 13 ppb,     MW-15 is the first real             remediation  ... underway or
   and in all eighteen        indication at this site that        anticipated.” (Bolin Deel. ¶
   subsequent MTBE            MTBE has escaped active             25.) The Orange County
   testing events prior to    rernediation efforts and is         Health Care Agency
   May 6, 2000, with a        threatening drinking water          recently wrote that
   peak of 200,000 ppb on     sources. (Bolin Dccl., ¶ 25.)       detections of petroleum
   September 30, 1997.                                            constituents in MW-22
   (OCWD-MTBE-00 1-           Citing to summaries prepared        “will result in additional
   182410.) MTBE was          by me for my deposition on          assessment activities and/or
   detected in MW-14 on       this station, defendants’ assert    modifications to the
   September 16, 1998 at      that the District                   remediation in progress.”
    14 ppb, and in four of    “acknowledges” pre-Ivlay 6,         (Ortega Decl. ¶4, Ex. C.)
   the next six sampling      2000, detections of MTBE in
   events prior to May 6,     the wells cited by Mr. Costley.     Although Mr. Bolin
   2000, with a peak of 29    (See Defendants’ Rule 56.1          purports to otTer his
   ppb. (OCWD-MTBE            Statement at 15.) This              “opinion as a
   001-182419.) MTBE          assertion misrepresents my          hydrogeologist with
   was detected in MW- 17     site summary which was              extensive experience in
   onJune23, 1998 at          created solely for the purpose      remediation,” he testified
    1,000 ppb (peak level),   of preparing for my deposition      during his deposition that he
   and in six of the next     as the District’s Rule 30(b)(6)     is “not an expert in
   seven sampling events      witness concerning the Mobil        remediation,” “remedial
   prior to May 6, 2000.      #18-i MY station and not for        technologies,” or “fate and
   (OCWD-MTBE-001      -      purposes of determining             transport analysis.” (See
   182421.) MTBE was          accrual dates for this station.     discussion in ¶ 2 above.)
   detected in MW-19B on      (Bolin Deci., ] 25.)
   June 23, 1998 at 15 ppb
   (peak level), and in
   three subsequent
   sampling events prior to
   May 6, 2000. (OCWD
   MTBE-00 1-182424.)

   OCWD acknowledges
   these pre-May 6, 2000
   off-site detections.
   (OCWD-MTBE-OOl      -




   192520 (“MTBE and
   TBA have been detected
   in off-site well BH
   5. .since MTBE first
      .




   detected in 1994”).)
                                       -   22   -
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Costco        16. Defendants do not        16. No response necessary.
17900         dispute the fact cited by
Newhope St.   the District, and believe
Fountain      that this station should
Valley        be dismissed from the
              District’s lawsuit with
              prejudice.

PLUME NO.     17. Plume 3 was              17. Mr. Costley cites a single    The District’s second
3             previously addressed in      detection of MTBE in one of       accrual criteria states that
OCWD-M        the 2008 round of            the designated wells for          accrual occurs when MTBE
10            supplemental briefing,       Plume 3, OCWD-MlO, to             is detected in a production
OCWD-M        and Defendants’              assert that the District’s        well associated with the
11            undisputed facts             claims are time-barred for        plume at any /ev’l. In
OCWD-M        supporting their position    these stations. See Costley       applying this criterion to
45            regarding this plume can     Dccl., Ex. IC. MTBE was           other Plumes. the District
              be found in their 56.1       detected at 1 ppb in              relies on purported MTBE
              statement submitted in       monitoring well OCWD-M1 0         detections that are up to 100
              that briefing at ¶J 21-28.   on September 12, 1995. (Ex.       times lower than any
                                            11, Plaintiff Orange County      existing regulatory limit
              The District’s own           Water District’s Second           (i.e., California’s 5 ppb
              interrogatory answers        Supplemental Responses to         secondary MCL). Thus. the
              confirm that the May 7,      Defendants Preliminary            District relies on purported
              2002 MTBE detection          Interrogatories re Standing at    detections of .12 ppb
              in OCWD-M10 was not          Ex. 1A “Orange County             (Plume 1), .08 pph (Plume
              the first detection of       Water District Owned              2), .13 Pj’l, (Plume 4). .04
              MTBE in this well, and       Wells.”) MTBE was not             pph (Plume 6) and .07 pph
              that in fact MTBE was        detected in this well again       (Plume 7). its reliance on
              first detected in OCWD       until September 2006. (Ibid.)     these miniseulc detections
              M10 on September 12,         This MTBE detection did not       rests on its assertion that
               1995, at a level of I       exceed any regulatory limits      “[w]hen MTBE is detected
              ppb. (Pl.’s Second           in place in 1995. Specifically,   in a drinking water well
              Supp. Responses to           in 1991 the State of California   there is no doubt that
              Defs.’ Preliminary            set an Action Level of 35 ppb    MTBE has escaped
              Interrogatories re            for MTBE, and the Action         remediation. (P1. ‘s Sup.
              Standing Ex. I A,             Level was the only regulatory    Opp’n Re Statute of
              “Orange County Water          limit for MTBE until the         Limitations (Mar. 28, 2008),
              District Owned                Secondary Maximum                at 17. Applying the same
              Monitoring Wells” p.5.)       Contaminant Level of 5 ppb        logic, the substantially
              The District                  was set in 1999. The              larger MTBE detections in
              acknowledged the              September 1995 detection of       OCWD-M10 before May 6,
               September 12, 1995           MTBE in OCWD-MlO was              2000 establish accrual thr
              detection in its prior        also below the 15 to 45 ppb      purposes of the District’s
               L.R. 56.1 Statement.         range that the District           own criterion.
               (Pl.’s 2008 LR. 56.1         understood to be the taste and
               Statement ¶21.) MTBE         odor threshold for MTBE in       Mr. Bolin is mistaken in his
              was also detected in          drinking water at the time.      assertion that there was “a
              OCWD-M10 prior to             (Bolin Decl. 11 28.)             single detection of MTBE”
               May 6,2000 on June12                                          in OCWD-MlO. This claim
               1997 at 0.51 ppband                                           ignores the undisputed fact
               July 7, 1997 at 0.7 ppb                                       that MTBE was also
                                                    -
                                                        £3   -
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                (Sartoris 2006 DecI. Ex.                                        detected in OCWD-M1Q
                10, pp. 2, 4), and on                                           prior to May 6, 2000 on
                February 1. 1999 at 0.61                                        June 12 1997 at 0.51 ppb
                ppb (Finsten 2009 Dccl.                                         and July 7, 1997 at 0.7 ppb
                Ex. 8.)                                                         (Sartoris 2006 Dee!. Ex. 10,
                                                                                pp. 2, 4), and on February 1,
                                                                                1999 at 0.61 ppb (Finsten
                                                                                2009 Dccl. Ex, 8.)

Arco #1912      18. The MTBE                 18. Mr. Costley cites B-5, E-7     18. See ¶ 17 supra for
18480           detection in well “W-8”      and E-15 at the Arco #1912         discussion of pre-May 6,
Brookhurst      on which OCWD’s              station associated with Plume      2000 MTBE detections in
St.             accrual date is              3 as examples of where “off        OCWD-M1 0.
Fountain        apparently based on a        site” wells showed detections
Valley          detection in well “MW        of MTBE prior to May 6,            When deposed as the
                8” at 7.6 ppb. (Costley      2000. See Costley Decl., Ex.       District’s Rule 30(b)(6)
                2009 DecI. Ex. 1A.)          1 A. These wells, however, do      representative last year, Mr.
                                             not indicate that MTBE has         Bolin unequivocally defined
                “MW-8” was                   escaped remcdiation at this        “off-site contamination” as
                constructed in               site. Groundwater flows at         “{djetections of MTBE in a
                December 1995 to             the Arco #1912 are considered      well outside the boundaries
                monitor the adjacent         variable because groundwater       of the property.” (Bolin
                Beacon Bay facility.         has flowed in multiple             Dep. 3 56:2-22; see also id.
                (OCWD-MTBE-00 I       -      directions over time, and has      1888:25-1890:3; 1933:12-
                265 197.) BP assumed         changed direction several           1934:3.) Mr. Bolin also
                responsibility for testing   times. (Ex. 10.) 8-5 is only 5     testified that an MTBE
                this well in 2006,           feet East of the site and,         detection in a monitoring
                however MTBE was not         therefore, appears to be part of   well “near the site
                discovered in this well      plume characterization for the     boundary... indicate[sj
                for the first time on        purpose of remedial efforts.       there is off-site
                March 14, 2007, the          E-7 is 97 feet from the site,      contamination.” (Id. 357:4-
                date on which OCWD           but is located on the property      16.)
                alleges its claims           of another designated fuel
                accrued. (OCWD               release site, Thrifty #3 83.       Mr. Bolin does not directly
                MTBE-00l -264566.)           Based on my review of the          respond to the undisputed
                MTBE was first               data from Arco #1912 and           fact that MW-8, the well on
                detected in MW-8 on          Thrifty #3 83, the MTBE            which he relies to support
                April 30, 1996 at 64.1       plumes originating at these        the District’s accrual date,
                ppb, and was detected at     two sites appear to have           was constructed in
                2,270 ppb in that well       commingled, and E-7 MTBE           December 1995 and that
                on August 15, 1996           detections may have                MTBE was detected there in
                (OCWD-MTBE-001        -      originated at either or both of    April 1996 at 64.1 ppb,
                265221.) If a detection      these sites. E-7 is located        then rising to 2,270 in
                in this well triggers        within 50 feet of and,             August 1996. Instead, he
                accrual at this station,     therefore, within the influence    states obliquely that: “In
                the District’s claims at      of Thrifty’s remediation well     2002, Arco assumed
                this station are time-       HVE- 1. For these reasons,         responsibility for operating
                barred.                       MTBE detections at E-7 do         and sampling MW-8 likely
                                              not demonstrate that MTBE         due to post-2000
                 Furthermore, prior to       has escaped remediation. E         conclusions that the MTBE
                 May 6, 2000, MTBE            15 is only 20 feet from site      in MW-8 may originated at

                                                      -   24   -
